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SEALED

 

 

 

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UNITED STATES DISTRICT COURT

 

 

DISTRICT OF NEVADA
UNITED STATES OF AMERICA,
Plant, Case No. 2:21-MJ-00887-VCF
* GOVERNMENT’S MOTION
NANCY KAY SHEDLESKI, TO SEAL COMPLAINT
Defendant. (Filed Under Seal)

 

 

 

 

The United States of America, by and through Christopher Chiou, Acting United
States Attorney, and Mina Chang, Assistant United States Attorney, respectfully moves this
Honorable Court for an Order sealing the Complaint, together with this Motion and the
Court’s Sealing Order, in the above-captioned matter until such time as the Court, or
another Court of competent jurisdiction, shall order otherwise.

It is necessary for the Complaint in this case to be sealed in light of the fact that it
makes reference to information regarding an ongoing investigation. Public disclosure of the
information in the Complaint might jeopardize the investigation and the Government’s
ability to arrest defendant Nancy K. Shedleski, who is not yet in custody. Although
Shedleski has been interviewed by agents with the Social Security Administration, Office of

Inspector General, she does not yet know of the Social Security Administration’s

 
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involvement in apprehending and arresting her. If she were to find out that federal law
enforcement officers were attempting to effectuate her arrest, Shedleski may attempt to flee,
relocate, or take actions to otherwise frustrate the investigation.

To facilitate Shedleski’s arrest, the Government respectfully requests that this Court
grant the Government’s motion and seal the Complaint in this case, as well as this Motion

and the Court’s Order on this Motion.

DATED this 20th day of October, 2021.

Respectfully submitted,
CHRISTOPHER CHIOU
Acting United States Attorney

/s/ Mina Chang
MINA CHANG
Assistant United States Attorney

 
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UNITED STATES DISTRICT COURT) 2-77

DISTRICT OF NEVADA a
UNITED STATES OF AMERICA,
Plaintiff,
Vv.
Case No. 2:21-MJ-00887-VCF
NANCY KAY SHEDLESK],
Defendant.

 

 

 

 

Order Granting Government’s Motion to Seal Complaint
(Filed Under Seal)
Based on the pending Motion of the Government, and good cause appearing, IT IS
HEREBY ORDERED that the Complaint, the Motion, and this Court’s Sealing Order in
the above-captioned matter shall be sealed until further Order of the Court.

(
DATED this _2¢ lay of October, 2021.

HONORABLE CAM FERENBACH \.
UNITED STATES MAGISTRATE JUDGE

 

 
